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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CORECO JA’QAN PEARSON, et al.,

       Plaintiffs,
                                             CIVIL ACTION NO.
v.
                                             1:20-cv-04809-TCB
BRIAN KEMP, et al.,

       Defendants.



           NOTICE OF APPEARANCE OF MELANIE JOHNSON

      COMES NOW Melanie Johnson of the law firm Robbins Ross Alloy

Belinfante Littlefield LLC, located at 500 14th Street N.W., Atlanta, Georgia 30318,

hereby makes an entry of appearance in the above-styled action on behalf of

Defendants Governor Brian Kemp, Secretary of State Brad Raffensperger, and State

Election Board Members Rebecca Sullivan, David Worley, Matthew Mashburn, and

Anh Le (collectively, “State Defendants”). Please direct all further pleadings,

notices, orders, and other matters to her at the address below.

      Respectfully submitted, this 3rd day of December, 2020

                                  /s/ Melanie Johnson
                                  Melanie Johnson
                                  Georgia Bar No. 466756
                                  mjohnson@robbinsfirm.com
                                  Robbins Ross Alloy Belinfante Littlefield LLC
                                  500 14th Street, N.W.
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                       Atlanta, Georgia 30318
                       Telephone: (678) 701-9381
                       Facsimile: (404) 856-3250

                       Counsel for Defendants Governor Brian Kemp,
                       Brad Raffensperger, in his official capacity as
                       the Georgia Secretary of State and the Chair of
                       the Georgia State Election Board; Rebecca N.
                       Sullivan, David J. Worley, Matthew Mashburn,
                       and Ahn Le, in their official capacities as
                       Members of the Georgia State Election Board




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                         L.R. 7.1(D) CERTIFICATION

      I certify that this Notice has been prepared with one of the font and point

selections approved by the Court in Local Rule 5.1(C). Specifically, this Notice has

been prepared using 14-pt Times New Roman Font.

                                       /s/ Melanie Johnson
                                       Melanie Johnson
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                        CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the within and foregoing NOTICE

OF APPEARANCE OF MELANIE JOHNSON with the Clerk of Court using the

CM/ECF system, which automatically sent counsel of record e-mail notification of

such filing.

      This 3rd day of December 2020.

                                       /s/ Melanie Johnson
                                       Melanie Johnson
